Case 1:19-cv-25114-MGC Document 34-3 Entered on FLSD Docket 05/15/2020 Page 1 of 1




   From: Charles Davant <csd@davantlaw.com>
   Date: October 22, 2019 at 9:08:34 AM EDT
   To: Christopher Moale <captainkris1@yahoo.com>
   Cc: "Moogan, Chris" <Chris.Moogan@Chubb.com>, Alicia Gargiulo <aag@davantlaw.com>,
   Jesse Drawas <jdrawas@davantlaw.com>
   Subject: Moale - RE: [EXTERNAL] Maintenance and Cure

   Captain,

   We sent the attached letter to you last week and hope you have received it. It contains several requests
   in furtherance of our duty to investigate your maintenance and cure claim. We would like to review
   documents and medical records so we can determine your eligibility. Please advise if you are
   represented by attorney Michael Moore or not. Our letter references same and our prior attempts at
   communicating with this attorney and you.

   We look forward to hearing from you soon. Please communicate directly with my office from this point
   forward.

   Best,

   Charlie

   ____________________________________
   Charles S. Davant
   <image001.jpg>
   401 East Las Olas Blvd. Suite 1400
   Fort Lauderdale FL 33301
   954.414.0400 office | 954.332.2301 fax
   954.414.0401 direct | 954.218.3512 mobile
   csd@davantlaw.com
   www.davantlaw.com
